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                    EXHIBIT ?B"


  COMPLAINT TO TRANS UNION, LLC
                         Case 1:16-cv-12200-DJC Document 1-3 Filed 10/31/16 Page 2 of 20
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                                           COMMONWEALTH OF MASSACHUSETTS


         PLYMOUTH, SS.                                                                   DISTRICT COURT



                                            )
         CRAIG C. DOLLOFF                   )
                                            )
               Plaintiff.                   )
                                            )
                   V.                       )
                                            )
         EXPERIAN                           )
               C T Corporation             )
               101 Federal Street          )
               Boston, MA 02110            )
                                           )
         TRANS UNION Credit Information )
               U. S. Corporation           )
               84 State Street             )
               Boston, MA 02109            )
                                           )
         EQUI-FAX Information Services )
              Prentice-Hall Corp SYS, Inc. )
              84 State Street              )
              Boston, MA 02109             )
                                           )
               Defendant.                  )
                                           )


                                                         COMPLAINT


                1. The plaintiff, Craig C Dolloff is suing the credit bureaus Experian, Trans Union, and

         Equifax over non-compliance of the United States FederaJ Trade Commission Fair Credit Reporting

         Act, (FCRA, Section 623, [15 u.s.c. § 1681s-2]. FCRA El Section 623, [15 u.s.c. § 1681s-2] outlines

         Responsibilities of furnishers of information to consumer reporting agencies (Credit Bureaus).
                Case 1:16-cv-12200-DJC Document 1-3 Filed 10/31/16 Page 3 of 20
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           2. ' on May 31, 2016 Plaintiff disputed negative reporting by CitiMortgage and American

    Express with a certified letter, to all 3 credit-reporting agencies (Defendants). Within 30 days, all three

    agencies reported back to the plaintiff that the disputed negative reporting was verified.

           3. Following FCRA guidelines, the plaintiff sent a certified letter, on June 21, 2016, to

    CitiMortgage requesting proof of Plaintiff approval to perform ?Hard-lnquires" against the Plaintiff credit

    and requesting the Plaintiff"s right to a furnishers investigation and proof that he approved these Hard-

    lnquires against his credit under the FCRA, Section 623, [15 u.s.c. § 1681s-2]. A representative of

CitiMortgage received the certified letter on June 24, 2016. The Plaintiff did not hear back from

CitiMortgage within the legally required 30 days from receipt.

           4. Following FCRA guidelines, the Plaintiff send a certified Ietter, on June 21, 2016 to

CitiMortgage requesting an investigation and proof that the Plaintiff was listed on two settled mortgages

that CitiMortgage was adversely reporting negative information against the Plaintiff"s credit and requested

his right to a furnishers investigation and proof that the Plaintiff was listed on the two mortgages, as

required by the FCRA Section 623, [15 u.s.c. § 1681s-2]. A representative of CitiMortgage received the

certified letter on June 24, 2016. . The Plaintiff did not hear back from CitiMortgage within the Iegally

required 30 days from receipt.

           s. Following FCRA guidelines, the plaintiff sent a certified letter, on June 21, 2016, to American

Express requesting proof that the Plaintiff was indeed late on two occasions and requesting the Plaintiff's

right to a furnishers investigation and proof that he the Plaintiff was indeed late on his payments as Iisted

in the Plaintiffs credit under the FCRA, Section 623, [15 u.s.c. § 1681s-2]. A representative of American

Express received the certified letter on June 29, 2016. The Plaintiff did not receive proof from American

Express within the legally required 30 days from receipt.
                     Case 1:16-cv-12200-DJC Document 1-3 Filed 10/31/16 Page 4 of 20
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                             Violation of the Fair Credit Reporting Act 623 jl5 ti.s.c. § 1681s-21

                6. CitiMortgage did not respond to the Plaintiff with proof, with regard, to the furnisher's

        investigation of the ?HARD-INQUIR?ES" on the Plaintiff, or the reported mortgages, within the 30-day limit,

        as required by law. (FCRA Section 623, [15 u.s.c. § 1681s-2])

                7. AmericanExpressdidnotrespondtothePlaintiffwithproof,withregard,tothefurnisher's

        investigation of Iate payments on the Plaintiffs credit, within the 30-day Iimit, as required by Iaw. (FCRA

        Section 623, [15 u.s.c. § 1681s-2])

                8. The plaintiff called the Defendants (Experian, Trans Union, and Equifax) on July 26,

        2016, in order to provide proof of the Plaintiff's compliance with the FCRA law and proof of the

        furnisher's non-compliance with the Fair Credit Reporting Act Section 623, [15 u.s.c. § 1681s-2]. All of

        the Defendants would not remove the negative reporting from CitiMortgage, even after sending the

        requested proof to their agencies. All three Defendants are complicit in not following the Fair Credit

        Reporting Act law - FCRA- Section 623, [15 u.s.c. § 1681s-2] as written.

               9. ThePlaintiffsentallthreecreditreportingagencies,(Experian,TransUnionandEquifax)a

        certified letter under the provisions of Massachusetts General Laws, Chapter 93A, Section 9, the Consumer

        Protection Act, in an effort for rectify the current wrong and to remove all derogatory information on the

        Plaintiff credit reports under the provision of the Fair Credit Reporting Act Section 623, [15 u.s.c. §

        1681s-2]. None of the deroBatory information was removed nor did the credit bureaus (Defendants)

        follow the law as written.
             Case 1:16-cv-12200-DJC Document 1-3 Filed 10/31/16 Page 5 of 20




                                                     RELIEF


        10. TheplaintiffexpectsthattheDefendantswillremoveallnegativereportingfrom

CitiMortgage with regard to the plaintiffs Hard-Inquires and the settled mortgages.

        11. Theplaintiffhassufferedbynotbeingabletogetloans,orcreditlines,duetothenegative

and unfair reporting of the Plaintiff's credit and is seeking relief of treble damages of relief, as outlined in

the Plaintiff's Massachusetts General Laws, Chapter 93A, Section 9, the Consumer Protection Act letter to

the Defendants. The amount of five thousand dollars (55,000.00), from each credit-reporting agency, was

communicated through certified letter utilizing the provisions of Massachusetts General Laws, Chapter

93A, Section 9, the Consumer Protection Act.




Everything l have written above is true and correct to the best of my knowledge.



                                                       The Plaintiff,
                                                       CRAIG C. DOLLOFF



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                                                            Dolloff,
                                                          s St. Georrz?. Stretlt #217
                                                                            2
                                                       Tel: 781-831-4414
                                                       Fax: 781-846-0420




DATED: October 20, 2016                                                                                            I
              Case 1:16-cv-12200-DJC Document 1-3 Filed 10/31/16 Page 6 of 20

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     August 12, 2016                                                                                    Craig C. Dolloff
                                                                                            285 St. George Street #217
                                                                                                   Duxbury, MA 02332

     EXPERIAN
     p.o. Box 9701
     Allen, TX 75103

     TRANS UNION, LLC.
     P.0. Box 2000
     Chester, PA 19016

     EQUI-FAX, LLC.
     P.0. Box 740241
     Atlanta, GA 30374

     Dear Experian, Trans Union and Equifax:

     I am writing to you under the provisions of Massachusetts General Laws, Chapter 93A,
     Section 9, the Consumer Protection Act. l am writing to request relief as outlined in that statute.

              On May 31, 2016, I disputed negative reporting by CitiMortgage and American Express, by certified
              letter, to all 3 credit-reporting agencies. Within 30 days, all three agencies reported back to me that
              the disputed negative reporting was verified, but not investigated.

             Fo?lowing the Fair Credit Reporting Act, (FCRA), guidelines, Isent a certified letter, on June 21, 2016,
             to CitiMortgage requesting my right to a "Furnishers Investigation" and for the farnisher to provide
             evidence, or proof, thatl approved the Hard-lnquiries" performed on my credit as required by the
             FCRA Section 623, [15 u.s.c. § 1681s-2]. A representative of CitiMortgage received my certified letter
             on June 24, 2016. l never heard back from CitiMortgage.

             Following the Fatr Credit Reporting Act, (FCRA), guidelines, l sent a second certified Ietter, on June
             21, 2016, to CitiMortgage requesting my right to a "Furnishers Investigation" and for the furnisher to
             provide evidence, or proof, that l was a signer on both of the mortgages, as required by the FCRA
             Section 623, [1 S U.S.C. § 1681s-2]. A representative of CitiMortgage received my certified letter on
             June 24, 2016. I never.heard back from CitiMortgage.

             Fol)owing the Fair Credit Reporting Act, (FCRA), guidelines, I sent a certified letter, on June 21, 2016,
             to American Express requesting my right to a "Furnishers Investigation" and for the furnisher to
             provide evidence, or proof, thatI was actually late on any of my payments a requtred by the FCRA
             Section 623, [15 u.s.c. § 1681s-2]. A representative of American Express received my certified letter
             on June 23, 2016. I never received the evidence I requested that supports and substantiates the
             information from the furnisher.


             The furnishers of negative reporttng didn't respond to me within 30 days of receipt of my 632 letter
             as required by FCRA, Sedion 611 [15 U.S.C. 61l681i. l called all three credit-reporting agencies on
             July 2Sth requesting my negative reporting be removed based on my evidence. l sent over my
             evidence to all three credit-reporting agencies and they gave me the run-around and said there was
             nothing they can do. All three credit-reporting agencies are complicit in breaking Federal Law by not
             allowing, or expunging, my negative reporting by the Furnishers listed in my claim.


     l believe that these acts or practices are declared unlawful by Section 2 of Chapter 93A, which declares unfair
     methods of competition and unfair or deceptive acts or practices in the conduct 6f any trade or commerce
     unlawful. The Federal Fair Credit Reporting Act states the following:
                           Case 1:16-cv-12200-DJC Document 1-3 Filed 10/31/16 Page 7 of 20
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               § 623. Responsibilities of furnishers of information to consumer reporting agencIes [15 u.s.c. § 1681s-2]
                                 [b) Duties of Furnishers of Information upon Notice of Dispute
                                 (1) In general. After receiving notice pursuant to section 6-1 1 (a)(2)
                                           [§ 1681i? of a dispute with regard to the comp]eteness or accuracy
                                          of any information provided by a person to a consumer reporting-
                                          agency, the person shall
                                 (A) conduct an investigation with respect to the disputed information;
                                 (B) review all relevant information provided by the-consumer reporting
                                          agency pursuanttosection61l(a)(2)[§l681i];
                                 (C) report the results of the investigation to the consumer-reporting
                                          agency;
                                 (D) if the investigation finds that the information is incomplete or
                                            inaccurate, report those results to all other consumer reporting
                                          agencies to which the person furnished the information and that
                                          compile and maintain files on consumers on a nationwide basis;
                                          and
                                 (E) if an item or information disputed by a consumer is found to be
                                            inaccurate or incomplete or cannot be verified after any reinvestigation under paragraph (1),
                                          for purposes of reporting to a
                                          consumer reporting agency only, as appropriate, based on the
                                          results of the reinvestigation promptly-
                                                    (i) modify that item of information;
                                                    (ii) delete that item of information; or
                                                    (iii) permanently block the reporting of that item of information.

                                 (2) Deadline. A person shall complete all investigations, reviews, and
                                          reports required under paragraph (1) regarding information provided
                                          by the person to a consumer reporting agency, before the expiration
                                          of the period under section 611(a)(1) [§ 1681i] within which the
                                          86 § 623 - 15 U.S.C. § 1681s-2 consumer reporting agency is required to complete actions
                                          required by that section regarding that information.

              I have suffered by not being able to get loans or credit lines due to the negative and unfair reporting of my
              credit and seeking the highest monetary damages allowed by the court. I am asking for relief in the amount of
              5,000 or, as follows: l would g{ve all three credit reporting agencies, Experian, Trans Union, and Equifax, an
              opportunity to expunge and remove the negative reporting from my credit report.

              This letter serves as my request for the following relief: $5,000.

              Under the provisions of Secti0n 9 Chapter 93A, l am providing 70u with the opportunity to make a written
              offer of settlement of this claim within 30 days. If you fail to make a good faith :offer of settlement in response
              to this request, and I institute legal action, a court may award me double or triple damages, attorney's fees
              and costs if the court finds in my favor.

              l may be reached at the address written above, or at 781-831-4414.

              llook forward to hearing from you.

              Sincerely,




              Craig C. Dol)off
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              Case 1:16-cv-12200-DJC Document 1-3 Filed 10/31/16 Page 11 of 20


                                                             Thursday, September 8, 2016 at 17:09:43 Eastern Daylight Time

Subject: ,IMPORTANT - CitiMortgage has received your correspondence
Date: Monday, June 27, 2016 at 14:31:17 Eastern Daylight Time
From: CitiMortgage
To:        CRAIG@SALESREALITY.COM

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      CitiMortgage eAlert                                                                         your address book to ensure delivery.


                                                                                                 citimortgage.com i contact us




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                                           Documents Received



                >> Siqn In to Your                             Dear CRAIG C DOLLOFF,
                  Account

                >> Update Your Email                  l
                                                              We have received your recent correspondence, and
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                                                     i        If you need further assistance, please call our
                  Address                                     Customer Service Department at 1-800-283-7918j.
                >> Check Interest Rates                       Monday through Friday 8:00 AM - 10:00 PM ET,
                                                    j         Saturday 8:00 AM - 6:00 PM ET.


                                                              CitiMortgage Customer Service




                                                                                                                                            Page 1 of 2
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                  Case 1:16-cv-12200-DJC Document 1-3 Filed 10/31/16 Page 14 of 20



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                     defined in section 403(3), or m entity that would be a credit
                     repair organization, but for section 403(3)(B)(i).
        (9) Duty to pmMe mfice of stam as medkxd 4orrmtion fiu-nisher. A
             person whose primary business is providing medical serfflces, prod-
             ucts, or devices, or the person's agent or assignee, who fumidies
             iuformation to a consumer reporting qeaey on a consiuner shau be
             considered a medim information furni? for purposes of this title,
             and shall noti0 the a@nq of sucb sfahis.
(b)     Duties of Furnisbers of Information upon Notice of Dispute
        (1) In gerieral. Afler receiving notice pursuanl to section 611(a)(2)
             [§ 1681i? of a dispute with regard to the completeness or aocuracy
             of any information provided by a person to a consumer reporting
            agency, the person shall
            (A) conduct an investipation with respect to tbe disputed ?rma-
                    tion;
            (B) review au relevant ?rmation provided by the consumer re-
                    porting agency pxxrsnant to section 611(a)(2) [§ 1681iJ ;
            (C) report the results of the investigation to the c,onsnmer reporting
                    agenc} ;

            (D) if the investigation finds that the information is incomplete or
                   inaccurate, report those results to all other conmmer reporting
                    agencies to which the pamn furnished the information and that
                    compile and maintam files on consumers on a nationwide basis;
                    and

            (E) if an itena of information disputed by a consumer is fotmd to be
                   inaccurate or incomplete or cmmot be verified after any rei
                   vestig?tion under paragrapb (1), for purposes of reporting to a
                   consumer reporting agency only, as appropriate, barn on the
                   results of tbe reinvestigation pmmptly-
                   (i) modify tbat item of mformation;
                    (ii) delete that item of information; or
                    (iii) permanently block the reporting of that item of informa-
                            tion.

       (2) Deadline. A person shall complete all investipations, reffe.ws, and
            reports required under paragraph (l) regarding information provided
            by the permn to a coasnmer reportm7 agency, before the expira-
            lion of the period under section 611(a)(l) [!j 1681i? wit?m which the

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§ 611 - 15 u-s.c- § 168?i


§61?. Procedureinmseofdisputedaccuracy[15U.S.C.§1681il
(a) Reinvestigations of D'sputed hfomiation
       (1) Reinvrstigation Required
              (A) In gmeraL. Subject to subsection (f), if die comp?etenesq or
                    :yuraq of any item of ?miation comamd in a consumer's
                    file at a consumr reporting a4gem;y is disputed by the consumer
                    and the consumer notifies the agency directly, or mdiredly
                    through a reseuer, of sudi dispute, the agency shaJl, free of
                    charge, conduct a reasonable reinvestipation to deter?e
                    whether the disputed informmion is inaccurate and record the
                    ciurent status of the disputed information, or delete the item
                    from the file in accordance with paragrapb (5), before the end
                    of the 30-day period be? on the date on which the agency
                    receives the notioe of tbe dispute from dm;, consimev or reseuer,
              (B) Extmsiori of perii JZ) reinvestigate. Except as provided in
                   subparagraph (c), dae 30-day period described m .subparagraph
                   (A) my be extended for not more than 15 additional days if the
                   comumer reponing agency receives information from the con-
                   ?er during that 30-day period that is relevant to the reimesti-
                   gatiOn.
             (C) Lirnitationsonextmiorxofperiodtoreinvestigme. Suhpara-
                  graph (B) ? not apply to any reinvestigation in wbich,
                  durmg the 30-day period desanThed in su?h (A), the
                  information that is the subject of die reinvestigation is found to
                  be inacairate or ?mplete or the oonsumer reporting agenq
                      demmmes that the ioformation cannot be verified.

      (2) Prompt Notice of Dispute to Furnisher of Information
             (A) IngeneraL. Beforetheexpmtimorthe                         period
                  beg;mn'uig on the date on whia a con?er reporting qnq
                  receives notice of a dispute from any consumer or a reseuer in
                  aocordance with paragraph (1), the agency shau provide noti-
                  fication of the dispute to any person who provided any item of
                  infor?tion in dispute, at the address and in the manner es-
                  tablished with the person. The notice ? iniude all relevant
                     Wormation regmding dnb dispute that the agenq has received
                     from the ?siuner or reseller.

             (B)' PrmAsion of other irxformation. The consumer reporling agency
                   s? promptly provide to the person who provided the inform-
                   tion in dispule au relevant information regmding the dispute
                                           50
